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                      1                             Declaration of Jonathan D. King
                      2         I, Jonathan D. King, declare as follows:
                      3         1.     I am the Chapter 7 Trustee of Zetta Jet USA, Inc. (“Zetta USA”) and
                      4   Zetta Jet PTE, Ltd. (“Zetta PTE,” and together with Zetta USA, the “Plaintiffs”).
                      5   Unless otherwise stated, the following facts are within my personal knowledge or
                      6   based on information made available to me in my capacity as Trustee. If called to
                      7   testify as a witness about these statements, I could and would competently testify.
                      8         2.     I make this Declaration in support of the Trustee’s Motion for Default
                      9   Judgment against Defendant Geoffrey Owen Cassidy.
                    10          3.     I am a citizen of the State of Illinois.
                    11          4.     The Complaint in this action was filed on September 8, 2017. Seagrim
                    12    v. Cassidy, No. 2:17-cv-6648, Dkt. 1 (C.D. Cal. Sept. 8, 2017).
                    13          5.     On September 15, 2017 (the “Petition Date”), the Plaintiffs filed
                    14    voluntary petitions for relief under chapter 11 of Title 11 of the United States Code
                    15    (the “Bankruptcy Code”), commencing the Bankruptcy Cases.
                    16          6.     On December 4, 2017, the Bankruptcy Cases were converted to cases
                    17    under chapter 7 of the Bankruptcy Code pursuant to 11 U.S.C. § 1112(a).
                    18          7.     On December 5, 2017, I was appointed by the Bankruptcy Court to serve
                    19    as chapter 7 interim trustee. Following the Section 341(a) meeting of creditors that
                    20    was held on January 8, 2018, I became the permanent trustee for the Bankruptcy
                    21    Cases.
                    22          8.     Cassidy is not an infant. To the best of my knowledge, Cassidy is not an
                    23    incompetent person.
                    24          9.     I caused a search of the Department of Defense Manpower Data Center’s
                    25    Servicemembers Civil Relief Act web database on February 10, 2021, using Cassidy’s
                    26    last name and date of birth. That search found no evidence that Cassidy is currently
                    27    on active duty in the armed forces of the United States or otherwise entitled to the
                    28    protection of the Servicemembers Civil Relief Act.
DLA P IPER LLP (US)
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